Case 1:20-cv-00316-JLS-LGF Document 87 ihn 05/11/22 i 1 of 2
J

\ON
Felope Marcus
3205 S. Yar kev vd-
APT. 109
Denver, Co. BD0IY
TEL™ (920) 23Y -dobT

 

Check of the Court

A. NIAGARA SQuar e

BulfalQ New York IWor
Te Ciks SSI -l7b6

Dear Cleck of the. Court,

TM Writing ” regards tbo Case F720 -CV-3Ib
Felippe Marcus -v- Cry of Buffalo.
hove Mediation aff May 10% 2022 with Mes.
Florina AITShiler. . .
Tm inform ing The Courts That © have Counsel
Fram Vinal and Vinal, RBC. Law Firm INVEST Gating
MY CaSe 3 Delaware ave. Buffalo, NeW Vork
4202 TEL (ib) 832-5900. And ALso STILL waiting
For CW's AmTopney +o Peduce Documents
thoatis Needed Pov Court Proceduves. £
humbly ASK this Courts +o Qrant me.
Extension oF Hime.

| |
Presye Crate
  
     

 

 

 

 

 
 

 

————

Fat AT
Cath! en “AST ES
uns wWAvhin €

pana) Je 39)

      

 

oungeuls! s anew
Nene oie semi ec) TENGEN!

S$ I, "SzO “sql

syeqmul eatojduug eourjdeccy | SeH widkl JUBIONA

sh aU | cinema

   

 

 

 

  

saaq 9 a6es0d [BIOL 99-4 WINIWSd AepyopyAepuns oSery/Guypuey felsads

 

 

 

 

)SNOHd 7
$ ( vax 5S. ¢ | SOLU ISS (94k tamsssend 01
694 uoneyodsuex,, wy A
jeuttuy ear} ) 90.4 idiegpeftumey a paydesoy own “AyrqeeAE 20} 8010 180d 1890] 10 gWuOd'SASN OF JAH
ee 7 7 > (,ajqeene o1ua ‘25 Teuonppe) paainbey Alone AepyopyAepuns {J
es $ iy ¢ - oe . (sep sseujsng xo paseajep) Aanyed Aepsnies ON [_]
wd ooo : 5 a suopdo Ausnoa
*hranyep uo einjeuBis $,eessesppe Sup ureygo 0) Bunduepe jnoyum UoReIO] @unoes JeU}O 20 Spada! YEW
923 G09 604 eoueInsul aun {sented PenPeyoS (AYaGANWN) perdacoy e120 — Is; Uy} U] LOY! Bl @ABAL NM BO1/UBS [EISO OU ‘payoayo jou S] XOq OU} ff “eoynses ydoooy UNTHRL SREELEUT
{p HO ‘eoes GOD id (€ HO 1 {UCH|PPE 4(ZHO 7 Oy) SOUTTIDTLS |

 

           
   

 

 

 

 

(4 saan BL I XO spaanbey ainyeuBig, ouy yeayo SNUs Jee SUL “SION asuinoay SyunWNets []
Uileiec peti) m1) 6] be- 18) FNS FIM ELS

7 [a oe

eyeq Alealiag PaINpeyss epog aiz Od

wet 2202 0 T RRO NONE
KAA “S SOCT
sn mou add'7134,

)ANOHd Untud ssw) SOUS
PeINOMe thE) 12sec)

®3>IAYIS TVLSOd
SILVLS GILINN Fd

     

 

 

   

 

 

 

  
           

oda Aven [7]

  

‘ON YOY ,,89/Meg [180d 10 "ON "yay Aouaby [e18P2.

       

 

SN 2&h hFh SOE TS

"ggaudX3

Eee

 

ws 3aqaan InaVIUNIIVEY DUV id

asn TWNOLLVNESINI GNV OILSSINNOG wOs

gS &, &

£9 (E- AD

 

HANHOO SIHL NOUS 133d aa 7 400 |

9666-XXX-XX-XXXX NSd 120% AVIN ‘a-bb T38VT

me led
wo "popnyjsul eoueinsu! 0O'00LS

amyoubig eeXordura owns uwacnnn) wuony fearon “LL@1-272-008 1189 10 WOO"SASN SIA ‘.8upjoeL SdSN 40 dno! 404

9000001L0001Sd

MI

 

 

dNNOId/NOO'SdsN
\" ‘apoo ie ey} ueos
‘dnydid ebeyoed S21} eNpsyos

JHDIEM ANV @ SLVd

AdOTAN
ALlvd LV

S$S$idd

TIV IW

=

ALIWOUI
